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ED/AR (8/2002)

                                     United States District Court                              FILED
                                                                                             u.s. DISTRICT COURT
                                                                                         EASTERN DISTRICT ARKANSAS
                                                      for the
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                                       Eastern District of Arkansas
                                                                                              MAY 10 2010
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                                                                                       JA.~~3.R~ACK, CI ERK
                      Request for Modifying the Conditions or Term of SUp~~~I~cC)r
                                     with Consent of the Offender                  DEP CLERK
                                   (Probation Form 49, Waiver ofHearing is Attached)


  Name of Offender: Christy R. Pickens                                    Case Number: 4:04CR00249-007 JMM
  Name of Sentencing Judicial Officer:      Honorable James M. Moody
                                            United States District Judge
  Offense:                 Conspiracy to commit bank fraud
  Date of Sentence:        March 5, 2007
  Sentence:                One day credit for time served, 5 years supervised release, mandatory drug
                           testing, substance abuse treatment, DNA testing, financial disclosure, no new
                           lines of credit, $34,582.21 restitution, and $100 special penalty assessment

                           August 11, 2008, Amended order: restitution amount reduced to $34,534.21
  Type of Supervision:     Supervised Release            Date Supervision Commenced: March 5, 2007
                                                         Expiration Date: March 4,2012
  Asst. U.S. Attorney: Jana Harris                       Defense Attorney: Michael Booker
  U.S. Probation Officer: Selina M. Earsa
  Phone No.: 501-604-5258


                                      PETITIONING THE COURT

To modify the conditions of supervision as follows:

                                                      CAUSE

                      Defendant shall make restitution payments of $25 per month.

Ms. Pickens' term of supervised release commenced on March 5,2007. As previously reported, Ms.
Pickens tested presumptively positive for marijuana on two occasions and admitted her use of the drug.
As a result, she was referred to the Recovery Centers of Arkansas of North Little Rock. She attended her
intake session, but did not attend any group treatment sessions. She continued to fail to report for drug
testing and continued to test positive for marijuana throughout March and April of 2007. In April of
2007, she accepted a referral to Arkansas Cares residential rehabilitation program for women and
children and while waiting for a placement, Ms. Pickens continued to use marijuana and failed to report
for drug screens in May and June 2007. Throughout this time, she failed to make payments toward her
special penalty assessment and restitution.
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                                                                      Conditions or Terms of Supervision
                                                                            with Consent of the Offender

Name of Offender: Christy R. Pickens                             Case Number: 4:04CR00249-007 JMM


On June 26, 2007, an initial appearance hearing was conducted before U.S. Magistrate Judge
Henry L. Jones, Jr., and the Court ordered Ms. Pickens to participate in inpatient treatment at the
Wilbur D. Mills Addiction Center for a period of 45 days followed by chemical free living. She entered
the Wilbur D. Mills Addiction Center on June 26, 2007. On July 16,2007, the Wilbur D. Mills
Addiction Center staff obtained a urine specimen from Ms. Pickens, which tested presumptively positive
for marijuana. A second urine specimen was obtained by the U.S. Probation Office on July 17,2007,
which was confirmed by Kroll Laboratories to be positive for marijuana metabolite. She completed the
residential program on August 9, 2007, and entered the Recovery Centers of Arkansas chemical free
program in Little Rock on August 10,2007. On August 13,2007, a revocation hearing was conducted
and the motion to revoke was continued for ninety days. Ms. Pickens was directed to reside in the
chemical free living center, attend outpatient treatment, and that all other conditions were to remain in
full force and effect. She completed the chemical free program on November 10,2007, and attended
treatment on an outpatient basis until she satisfactorily completed the program on February 11, 2008.

As previously reported on October 16,2007, Ms. Pickens failed to report a driving while under
suspended license, no proof of liability insurance, and unsafe driving charges.

On June 4,2008, the Court was notified that Ms. Pickens failed to make restitution payments since the
commencement of her term of supervised release. She also failed to make any payments towards her
special penalty assessment. At the time, she was verbally reprimanded and reinstructed to make
payments accordingly. On April 3, 2010, it was reported a second time, Ms. Pickens failed to make
restitution payments since the commencement of her term of supervised release. At the time, she was
verbally reprimanded and reinstructed to make payments accordingly.

Since that time, she satisfied her special penalty assessment and made a restitution payment of $40 on
April 17, 2009, and a restitution payment of$100 on June 1,2009. On December 4,2009, she was
instructed by this officer to report to the probation office on December 7,2009, and she failed to report
as instructed. She did report to the probation office on December 10,2009.

Since her release from substance abuse treatment, Ms. Pickens has maintained a stable residence with
her children. She is currently employed with the Central Arkansas Area on Aging as a home health care
provider and reportedly receives an additional income of monthly food stamps of $651. She lives
paycheck to paycheck, is a single mother of four children, and receives no child support. She continues
to submit negative drug tests, remains in compliance with drug testing procedures, and maintains regular
contact with this officer. Based on this information, Ms. Pickens cannot afford to pay restitution at the
rate of 10% of her gross monthly income.
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                                                         Conditions or Terms of Supervision
                                                               with Consent of the Offender

Name of Offender: Christy R. Pickens                              Case Number: 4:04CR00249-007 JMM


On May 3, 2010 Ms. Pickens agreed to have her term of supervised release modified amending the
restitution rate to $25 monthly. She signed the attached PROB 49, waiving her right to a hearing. Her
attorney, Michael Booker, was contacted and is in agreement with this modification.




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 Selina M. Earsa                                              Jana Harris
 U.S. Probation Officer                                       Assistant U.S. Attorney

 Date: May 5, 2010                                              Date:




This form is to be filed with Criminal Docketing as a motion.

THE COURT ORDERS:
[]     No Action
[]     The Extension of Supervision as Noted Above
[)lJ   The Modification of Conditions as Noted Above
[]     Other


                                                                 ignature of Judicial Officer
                                                                        ~,A cfll~
                                                             Date
This form is to be filed with Criminal Docketing as an order and/or petition.

Approved:


~£~
Supervising U.S. Probation fficer

SME:khm

c: Defense Attorney, Michael Booker, Pyramid Place, W. 2 nd St., Ste. 601, Little Rock, AR 72203
   Christy Pickens, 11640 Barrow Road, Apt. 24, Little Rock, AR 72204
   Assistant U.S. Attorney, Jana Harris, P.O. Box 1229, Little Rock, AR 72203
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PROB49
                                  Waiver of Hearing to Modify Conditions
                       of Probation/Supervised Release or Extend Term of Supervision

                        UNITED STATES DISTRICT COURT
                                    for the
                        EASTERN DISTRICT OF ARKANSAS

       I have been advised and understand that I am entitled by law to a hearing and assistance
of counsel before any unfavorable change may be made in my Conditions of Probation and
Supervised Release or my period of supervision being extended. By 'assistance of counsel', I
understand that I have the right to be represented at the hearing by counsel of my own choosing if
I am able to retain counsel. I also understand that I have the right to request the Court to appoint
counsel to represent me at such a hearing at no cost to myself if I am not able to retain counsel of
my own choosing.

        I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel.
I also agree to the following modification of my Conditions of Probation and Supervised Release
or to the proposed extension of my term of supervision:


                 Defendant shall make restitution payments of $25 per month.



 Witness:
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                  U.S. Probation Officer
                                                       Signed: U~~~?-!....!f!.U~~~_ _
                                                              Probatione
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                                                  DATE
